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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF OKLAHOMA

 BANK OF HAYS et al.,

                         Plaintiffs,

 v.                                           Case No. 23-CV-196-DES

 CSR WORLDWIDE OK, INC., et al.,

                         Defendants.


           DEFENDANTS’ VERIFIED MOTION TO VACATE RECEIVER
            ORDER AND SET ASIDE APPOINTMENT OF RECEIVER

      COME NOW Defendants CSR Worldwide OK Inc., CSR-OK Real Estate Holding

Company LLC, Central States Reprocessing LLC, Steven F. Bombola, and Troy D.

Burgess (“Defendants”) by and through their counsel Jennifer Ary Brown of Franden Farris

Quillin Goodnight Robert + Ward and Nicholas R. Grillot of the Hinkle Law Firm, LLC,

and move the court for an order vacating by Order Appoint Receiver entered on (Doc #24)

(“Receiver Order”) and setting aside the appointment of the receiver in this Case.

      In support of their Motion, Defendants state as follows:

                                   Factual Background

      1.     CSR Worldwide OK, Inc. (“CSR WW”) operates a resin recycling facility in

Watts, Oklahoma.

      2.     CSR-OK Real Estate Holding Company, LLC (“CSR REH”) owns the real

estate and the improvements to that real estate in Watts, which includes the recycling and

the equipment inside the facility CSR WW uses to operate.
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         3.       CSR REH leases the facility in Watts, including the real estate, the

improvements, the fixtures, and the equipment, to CSR WW.

         4.       Plaintiffs filed their Petition in the district court in and for Adair County,

Oklahoma (“State Court”) on May 15, 2023 (“Petition”). 1 The case was filed as case no.

CJ-23-36 (the “State Court Action”).

         5.       In their Petition, Plaintiffs sought judgment against Defendants for

acceleration of the balance due on certain loan documents and to foreclose their mortgages

on the real property identified in the Petition and Defendants’ other assets. (Doc. 2-1).

         6.       Plaintiffs also filed a separate motion requesting the State Court to appoint a

receiver on the same day (“Initial Receiver Motion”). See Exhibit 4 to the Notice of

Removal (Doc. 2-4, pp. 2 – 6).

         7.       CSR WW and CSR REH filed separate Chapter 11 bankruptcy cases in the

Eastern District of Oklahoma, Case No. 23-80391 and Case No. 23-80390 (“Bankruptcy

Cases”) respectively on June 6, 2023 (“Petition Date”).

         8.       All attempts to collect debts against CSR WW and CSR REH were

automatically stayed as of the Petition Date by virtue of the Bankruptcy Cases being filed.

         9.       Defendants CSR WW and CSR REH filed a Suggestion of Bankruptcy in the

State Court Action on June 8, 2023. (Doc. 2-13)



1
 Any capitalized terms in this Motion that are not defined herein have the meaning set forth in the Petition, which
definitions are incorporated herein by this reference.
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       10.    Defendant, The United States Department of Agriculture (“USDA”)

removed the State Court Action to this Court on June 13, 2023. (Doc. 2)

       11.    CSR WW and CSR REH’s Bankruptcy Cases were dismissed on September

1, 2023.

       12.    The basis for the dismissal of the Bankruptcy Cases was CSR WW’s and

CSR REH’s failure to maintain adequate insurance on equipment owned by CSR REH.

       13.    Before the Bankruptcy Cases were filed and during the pendency of the

Bankruptcy Cases, Plaintiff Bank of Hays (“BOH”) maintained force-placed insurance

against the equipment owned and leased by CSR WW.

       14.    To CSR WW’s and CSR REH’s knowledge and belief, BOH maintained $4

million in coverage under its force-placed policies and that coverage is still in place.

       15.    After the Bankruptcy Cases were dismissed, Plaintiffs filed their Motion for

Entry of Default on October 6, 2023. No other pleadings were filed in this Case concerning

Defendants before then.

       16.    The Clerk entered a default on October 12, 2023. See Doc. 22.

       17.    The following day, October 13, 2023, Plaintiffs filed the Joint Consent

Motion to Enter Ex Parte Order Appointing Receiver (“Ex Parte Receiver Motion”) (Doc.

23) without giving notice to the Defendants. The Court entered the Receiver Order ex parte

appointing the receiver on October 13, 2023 (“Receiver Order”). See Doc. 24.
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        18.   Plaintiffs stated several reasons in the Ex Parte Receiver Motion for their

request for the Receiver Order ex parte. Those reasons include:

              a.     Attempts to communicate with Defendants after the Bankruptcy Case

                     was dismissed were rebuffed.

              b.     Defendant CSR WW’s equipment were uninsured.

              c.     Defendant CSR REH’s real property and equipment were not insured.

              d.     Defendants were in default based on the Clerk’s Default Entry on

                     October 12, 2023.

        19.   However, when the Receiver Motion was filed, CSR WW’s maintained

property-casualty insurance covering the equipment that it owned.          A copy of the

Certificate of Insurance is attached as Exhibit A. That equipment remains insured as of the

filing of this Motion. See Ex. A.

        20.   Additionally, at the time the Ex Parte Receiver Motion was filed, CSR REH

maintained coverage on the real estate it owned, which included coverage of the equipment

associated with that facility. A copy of the Certificate of Insurance is attached as Exhibit

B. That equipment and real estate remain insured as of the filing of this Motion. See Ex.

B.

        21.   At the time the Ex Parte Receiver Motion was filed and the Receiver Order

was entered, Defendants were represented by current counsel, although counsel had not

entered an appearance in this Case.
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       22.    Upon being advised of the Ex Parte Receiver Motion and the Receiver Order,

Defendants immediately responded to communication with Plaintiffs’ counsel.

       23.    Additionally, Defendants retained local counsel and filed a response to

Defendants’ Motion for Entry of Default. See Doc. 27 and Doc. 28. In that response,

Defendants requested the ability to file an answer to the Plaintiffs’ Petition. See Doc. 28.

                               Argument and Authorities

       24.    In this instance, the Ex Parte Receiver Order should be vacated and the

appointment of the receiver should be set aside for several reasons. First, the Court lacked

jurisdiction to enter the Receiver Order because this Case was removed in violation of the

automatic stay. Second, Plaintiffs failed to meet their burden that an emergency existed

that required the Receiver Order to be entered without notice to Defendants. Third, it is

not substantially necessary for CSR WW’s and CSR REH’s assets to be placed into a

receivership as required by Oklahoma law. Fourth, rather than preserve assets, the

establishment of the receivership has only resulted in significant administrative burdens

which outweigh any benefits that might exist for the receivership. Each of these issues are

addressed in order.

       25.    “The appointment of a general receiver is in the nature of a harsh remedy and

it should not be done except in the case of substantial necessity.” Skirvin v. Coyle, 1939

OK 249, 185 Okla. 487, 94 P.2d 234, 237. “Since the remedy by receivership is an

extraordinary one, the applicant has the burden of presenting facts sufficient to disclose to
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the court a necessity for the remedy.” Skirvin, 1939 OK 249, 185 Okla. 487, 94 P.2d at

239.

        26.      First, the Receiver Order should be vacated because this Case was removed

in violation of the automatic stay. When CSR WW and CSR REH filed their Bankruptcy

Cases, an automatic stay was issued by the Bankruptcy Court under 11 U.S.C. § 362(a).

The automatic stay prohibits “…the commencement or continuation…of a judicial,

administrative, or other action or proceeding against the debtor…” See 11 U.S.C. §

362(a)(1). “The automatic stay is broad in scope and applies to almost every formal and

informal action against the debtor or property of the debtor, except as set forth under (b) of

Section 362.” In re United Imports Corp., 200 B.R. 234, 236 (Bankr.D.Neb.1996).

        27.      “…(A)ctions stayed by a bankruptcy filing include removing a pending state

court lawsuit to the bankruptcy court if the claim or cause of action is subject to the

automatic stay.” In re Hoskins, 266 B.R. 872, 877 (Bankr. W.D. Mo. 2001); see also F &

M Bank & Tr. Co. v. Owens, No. 2:13CV00063 ERW, 2013 WL 3941382, at *1 (E.D. Mo.

July 31, 2013)(finding a creditors removal of state court action post-petition subject to the

automatic stay) and TW Telecom Holdings Inc. v. Carolina Internet Ltd., 661 F.3d 495,

497 (10th Cir. 2011)(holding that any action, including an appeal by a debtor/plaintiff,

subject to the stay). 2



2
 But see In re Cashco, Inc., 599 B.R. 138, 144 (Bankr. D.N.M. 2019)(finding that the removal of a state-court
action to a bankruptcy court does not violate 11 U.S.C. § 362(a)(1)).
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       28.    “Oklahoma precedents align us with the weight of authority recognizing that

judicial proceedings undertaken in violation of an automatic stay are ineffective.” Bailey

v. Campbell, 1991 OK 67, ¶ 12, 862 P.2d 461, 467. The nullity of those actions “…are not

cured by a subsequent termination of the stay.” Bailey, 1991 OK 67 at ¶ 13, 862 P.2d at

468. A court is without jurisdiction in a case removed in violation of the automatic stay.

See F & M Bank & Tr., 2013 WL 3941382, at *2.

       29.    In this Case, the claims asserted in the State Court Action primary sought

judgment against CSR WW and CSR REH, including the foreclosure of security interests

maintained against CSR WW’s and CSR REH’s assets. So when CSR WW and CSR REH

filed the Bankruptcy Cases on June 6, 2023, the continuation of judicial proceedings

against CSR WW and CSR REH were stayed, including the removal of this Case on June

13, 2023. As such, the removal of the State Court Action a week after the Bankruptcy

Cases were filed violated the stay and is void ab initio. Because of that, the Court did not

maintain jurisdiction to grant the Receiver Order and appoint a receiver.

       30.    Second, the Receiver Order should be vacated because there is nothing in the

Ex Parte Receiver Motion that showed the exigent circumstances required for a

receivership to be put in place ex parte. “…(A) receiver should never be appointed on an

ex parte basis, absent ‘specific allegations and clear proof of exigencies of the particular

case.’ ” Panama Timber Co. v. Barsanti, 1980 OK 170, ¶ 6, 619 P.2d 872, 873 quoting Orr

v. Tiger, 170 Okl. 424, 41 P.2d 652, 654 (1935). “It should be a strong case of emergency
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and peril, well fortified by affidavits, to authorize the appointment of a receiver without

notice to the other party.” Pyeatt v. Prudential Ins. Co., 1913 OK 250, 38 Okla. 15, 131

P. 914, 917 Thompson v. Tower Mfg. Co., 87 Ala. 733, 734, 6 So. 928, 928 (1889). “…(I)t

requires an extraordinary case to justify a court in appointing a receiver without notice to

the corporation and the opportunity to it to be heard.” Pyeatt, 1913 OK 250, 38 Okla. 15,

131 P. at 917. “Unless the emergency is so great and the loss to the applicant so imminent

as to warrant procedure without notice within the rule announced by the authorities above

referred to notice for the appointment of a receiver ought always to be given before the

appointment is made.” Rashaw v. Straus Co., 1923 OK 1129, 94 Okla. 141, 221 P. 62, 65.

       31.    The Initial Receiver Motion, the Ex Parte Receiver Motion, and the exhibits

provided in support of those motions fail to point to any exigency that required such drastic

action without notice. CSR WW’s and CSR REH’s assets are not of the kind and nature

which are subject to rapid deterioration, depreciation, or spoliation. Most of the equipment

securing the Plaintiffs’ claims are sedentary and of the size and nature that significant

machinery is required to haul or move them.

       32.    Additionally, no claims were made that Defendants were absconding with

the Plaintiffs’ collateral or that the real estate or equipment were in danger of being

damaged because of actions taken by Defendants or any specified third party.

       33.    While Plaintiffs argue that the lack of insurance on their collateral as a reason

for the receivership to be entered ex parte, such justification is illusory.         Plaintiffs
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maintained force-placed insurance against CSR WW’s equipment and CSR REH’s real

estate and equipment. So while there might be potential issues with recovery for CSR WW

and CSR REH’s other creditors if the real estate and equipment were damaged, Plaintiffs’

interest still remained protected at least to the point where a hearing on the needs for a

receivership could take place. There just was not the exigent circumstances that required

a receivership be placed over CSR WW and CSR REH’s assets ex parte.

       34.    Plaintiffs also assert in the Initial Receiver Motion several other justifications

as to why a receiver should be appointed. However, ex parte relief was not sought in the

Initial Receiver Motion.      More importantly, the fact the Source Loan Documents

authorized the appointment of a receiver ex parte did not relieve Plaintiffs’ obligations to

produce evidence showing the circumstances warranted such relief. See MIF Realty L.P.

v. Duncan Dev. Co., 1995 OK CIV APP 25, 892 P.2d 664, 667 (vacating the appointment

of a receiver granted pursuant to a mortgage and remanding the case for an “…evidentiary

hearing necessary for the appointment of a receiver under 12 O.S. § 1551”).

       35.    Next, in addition to the absence of evidence supporting the need for the

receivership to be established ex parte, there is also a lack of evidence in the Receiver

Motion which reflects the substantial need for a receiver to be appointed at all. “Among

the facts which must ordinarily be clearly proven to justify the appointment of a receiver

are:
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              (1)    [t]he fact that there is imminent danger that unless a receiver is
                     appointed the property or its proceeds will be deteriorated in
                     value or wasted during the pendency of the suit;

              (2)    [t]he fact that the plaintiff will suffer irreparable loss…; and

              (3)    [t]he fact that on the pleadings and preliminary proofs there is
                     a strong probability that the plaintiff will ultimately prevail on
                     the merits.

Truett v. Freedom Leaf, LLC, 2021 OK CIV APP 26, ¶ 11, 495 P.3d 153, 159–60. In order

establish the need for a receiver, a party must show that the property which a party seeks

to place in receivership is “in danger of being lost, removed, or materially injured…”

Panama Timber, 1980 OK 170 at ¶ 8, 619 P.2d at 873. “Where it seems doubtful ‘there is

imminent danger that the plaintiff will suffer irreparable loss, the application for a receiver

will be denied[,] and in the hearing and decision of such a case all the presumptions are in

favor of the defendant in possession ....’ ” Truett, 2021 OK CIV APP 26 at ¶ 11, 495 P.3d

at 160. And even if there is a showing that meet the criteria for the appointment of a

receiver, “…the decision to appoint a receiver still remains within the sound discretion of

the trial court.” MIF Realty, 1995 OK CIV APP 25, 892 P.2d at 667 citing Stovall v.

Edwards, 194 Okla. 335, 151 P.2d 385 (1944).

       36.    In this case, the Initial Receiver Motion and the Ex Parte Receiver Motion

are devoid of the type of injury claims necessary to justify the implementation of a receiver.

There is nothing in the Initial Receiver Motion and Ex Parte Receiver Motion that indicates
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Plaintiffs’ collateral will significantly decline in value or Plaintiffs’ will suffer a significant

loss if a receiver is not appointed.

       37.     Plaintiff does allege in the Initial Receiver Motion that CSR WW did grant

Defendant Blue Bridge Financial, Inc. (“Blue Bridge”) an unauthorized security interest in

Plaintiffs’ collateral. Despite that allegation, Blue Bridge does not claim any interest

Plaintiffs’ collateral. See Blue Bridge’s Answer to Plaintiffs’ Petition (“Blue Bridge

Answer”), p. 15, ¶ 89 of Doc. 17. Instead, Blue Bridge asserts a purchase-money security

interest in equipment Blue Bridge alleges CSR WW purchased with the proceeds from that

financing Blue Bride provided CSR WW. Moreover, if CSR WW did in fact grant Blue

Bridge a security interest in Plaintiffs’ collateral, such security interest would junior and

inferior to Plaintiffs’ interest and would not be the significant injury to Plaintiff’s collateral

position required to justify the appointment of a receiver. See Blue Bridge Answer, pp. 8-

9, ¶ 49 of Doc. 17.

       38.     There is also nothing that shows Plaintiffs will suffer irreparable injury

unless a receiver was appointed. And the only imminent danger (the lack of insurance)

was non-existent. Moreover, the force-placed insurance BOH maintained, CRS WW and

CSR REH maintained adequate insurance on their assets when the Receiver Order was

entered and continue to maintain adequate insurance now.

       39.     Furthermore, CSR WW and CSR REH have a plan ready to set in motion to

rework their operations, which includes support from third-party financing. With the
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assistance and support of non-debtor affiliates, this plan will bring CSR WW’s operations

to a level that would allow for sustained profitability in a relatively short period of time

and provide for continued debt service on Plaintiffs’ claims.

       40.    Lastly, the Receiver Order should be vacated and the receivership terminated

because the costs associated with the receivership exceed any benefit the receivership may

have. “The decision on whether to terminate a receivership turns on the facts and

circumstances of each case, including any relevant equitable considerations…” 65 Am. Jur.

2d RECEIVERS § 94.

       41.    In this case, the Receiver Order should be vacated and the receivership

terminated because the cost associated with the receivership outweigh its benefit. CSR

WW operates using a proprietary system and technology that reprocesses resin and other

resin-waste products to allow for their continued use by its customers. This is a highly

specialized field that requires intimate knowledge of the technology and the materials

involved in order to facilitate operations. It also requires very industry-specific contacts

since CSR WW’s customers do not come from the general public. As a result, those

characteristics are necessary to have any sustained operations. In order words, experiential

and significant business acumen alone is not sufficient to sustain CSR WW’s operations.

       42.    Currently, CSR WW generates just enough revenue to pay ongoing

operations, including payroll, utilities and other-related costs. Adding another layer of
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administrative costs to CSR WW’s regular expenses creates an operational deficit that is

not sustainable, even on a short term basis.

       43.    Under the Receiver Order, the current Receiver’s fee is $495.00 per hour.

The Receiver also utilizes staff whose hourly rate ranges from $175.00 to $495.00 an hour.

The compensation for the Receiver and his staff to the regular and ongoing expenses CRS

WW and CSR REH significantly hampers CRS WW’s and CSR REH’s ability to operate

and prevents them from implementing the restructured plan to rework their operations to

create a sustainable surplus of revenue.

       44.    The nature of CSR WW’s operations and the status of its current operations

are insufficient to sustain the continued burden of operating under a receivership. The

costs associated with doing so outweigh any benefit maintaining a receivership might yield.

Under these circumstances, it is only equitable to terminate the receivership.

                      Certification Under E.D. Okla. LCvR 7.1(f)

       45.    Before filing this Motion, Defendants’ counsel, Nicholas R. Grillot,

conferred in good faith with BOH’s counsel, Thomas A. Creekmore III, both by telephone

and through email correspondence multiple times in a sincere attempt to resolve the issues

related to the entry of the Receiver Order, the appointment of the Receiver, and the

settlement of the entire case in an effort to reach an accord. Defendants’ counsel did not

meet with BOH’s counsel because Defendant’s counsel’s office located at 1617 N.

Waterfront Parkway, Suite 400, Wichita, Kansas 67206-6639 is more than 30 miles away
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from BOH’s counsel’s office located at 521 East 2nd Street, Suite 1200, Tulsa, Oklahoma

74120.

         WHEREFORE, Defendants request the Court enter an order vacating the Receiver

Order, that the Court terminate the receivership, release the Receiver from any and all bond

the Court required him to post, that the Court award Defendants any and all costs they have

incurred to the extent allowed by Oklahoma law, and that the Court grant such further relief

as the Court deems just and equitable.

                                          RESPECTFULLY SUBMITTED:

                                          /s/ Jenifer Ary Brown
                                          Jennifer Ary Brown, OBA #22475
                                          FRANDEN | FARRIS | QUILLIN
                                            GOODNIGHT | ROBERTS + WARD
                                          Two West 2nd Street, Suite 900
                                          Tulsa, Oklahoma 74103
                                          Tel: 918/583-7129 / Fax: 918/584-3814
                                          jary@tulsalawyer.com

                                          AND


                                          HINKLE LAW FIRM, LLC

                                          /s/ Nicholas R. Grillot
                                          Nicholas R. Grillot, pro hac vice
                                          1617 N. Waterfront Pkwy, Suite 400
                                          Wichita, Kansas 67206-6623
                                          Phone: (316) 660-6211 / Fax: (316) 660-6523,
                                          ngrillot@hinklaw.com
                                          Attorneys for Defendants CSR Worldwide OK
                                          Inc., CSR-OK Real Estate Holding Company
                                          LLC, Central States Reprocessing LLC, Steven
                                          F. Bombola, and Troy D. Burgess
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                                              VERIFICATION

STA TE OF N           £)/XOO'f-CA..          )
                                             ) ss:
COUNTY OF           �\f/:                    )

         Troy D. Burgess, of lawfi.11 age, being first duly sworn, on oath states:

       1 have read the foregoing Defendants' Verified Motion to Vacate Receiver Order and
Set Aside Appointment of Receiver; and the statements, allegations and avenuents therein
contained are true and conect.




     SUBSCRIBED A D SWORN to before me a Notary Public this --z1�t day of
                                                        a/4�
                                   N

December_, 2023 by Troy D. Burgess.


                                                          Notaiy Public

My Appointment Expires:                                                    ul:NERAL NOTARY - State of Nebraska
 ! 0 /'Z -i-, / 2-0 V-/                                                            JORGE A. GARCIA
                                                                                My Comm. Exp October 22, 2024
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                            CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on December 29, 2023, a true and correct copy
of the above DEFENDANTS’ RESPONSE TO PLAINTIFFS’ VERIFIED MOTION FOR
ENTRY OF DEFAULT BY CLERK was filed electronically with the United States
District Court for the Eastern District of Oklahoma using the CM/ECF system, which sent
notification to all parties of interest participating in the CM/ECF system.

                                         Tammy J. Hohstadt
                                         Tammy J. Hohstadt, Certified PLS
                                         Paralegal for Nicholas R. Grillot
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                                                                                                                                                         DATE (MM/DD/YYYY)
                                                EVIDENCE OF PROPERTY INSURANCE                                                                                 12/14/2023
  THIS EVIDENCE OF PROPERTY INSURANCE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE
  ADDITIONAL INTEREST NAMED BELOW. THIS EVIDENCE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE
  COVERAGE AFFORDED BY THE POLICIES BELOW. THIS EVIDENCE OF INSURANCE DOES NOT CONSTITUTE A CONTRACT BETWEEN THE
  ISSUING INSURER(S), AUTHORIZED REPRESENTATIVE OR PRODUCER, AND THE ADDITIONAL INTEREST.
AGENCY                            PHONE             (918) 295-7410                       COMPANY
                                  (A/C, No, Ext):
Premier Consulting Partners
10425 S 82nd East Ave, Ste 110                                                           Markel American Insurance Company
                                                                                         10 S. LaSalle Street
Tulsa                                                                  OK 74133          Suite 2000
FAX        (918) 970-4884        E-MAIL      Nichole.Charles@RelationInsurance.com       Chicago                                                          IL      60603
(A/C, No):                       ADDRESS:
CODE:                                          SUB CODE:
AGENCY           01080519
CUSTOMER ID #:
INSURED                                                                                  LOAN NUMBER                                     POLICY NUMBER

CSR Worldwide OK                                                                                                                         MKLM3IM0055207
473617 East 610 Road                                                                         EFFECTIVE DATE            EXPIRATION DATE
                                                                                                                                                 CONTINUED UNTIL
                                                                                                 09/20/2023               09/20/2024             TERMINATED IF CHECKED

Watts                                                                  OK 74964          THIS REPLACES PRIOR EVIDENCE DATED:



PROPERTY INFORMATION
LOCATION/DESCRIPTION

473617 East 610 Road
Watts                                                                                                                                                      OK 74964
Loc# 00001



 THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE INSURED NAMED ABOVE FOR THE POLICY PERIOD INDICATED.
 NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT WITH RESPECT TO WHICH THIS
 EVIDENCE OF PROPERTY INSURANCE MAY BE ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEREIN IS
 SUBJECT TO ALL THE TERMS, EXCLUSIONS AND CONDITIONS OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLAIMS.
COVERAGE INFORMATION                                 PERILS INSURED           BASIC       BROAD           SPECIAL
                                                        COVERAGE / PERILS / FORMS                                                  AMOUNT OF INSURANCE           DEDUCTIBLE
Catastrophe                                                                                                                       1,000,000
Contractors Equipment                                                                                                             1,330,000




REMARKS (Including Special Conditions)




CANCELLATION
 SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED BEFORE THE EXPIRATION DATE THEREOF, NOTICE WILL BE
 DELIVERED IN ACCORDANCE WITH THE POLICY PROVISIONS.
ADDITIONAL INTEREST
NAME AND ADDRESS                                                                            ADDITIONAL INSURED         LENDER'S LOSS PAYABLE             LOSS PAYEE

                                                                                            MORTGAGEE
                                                                                        LOAN #
                 For Info Only

                                                                                        AUTHORIZED REPRESENTATIVE




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                                                                                                                                                               DATE (MM/DD/YYYY)
                                               CERTIFICATE OF PROPERTY INSURANCE                                                                                  12/27/2023
  THIS CERTIFICATE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE CERTIFICATE HOLDER. THIS
  CERTIFICATE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE COVERAGE AFFORDED BY THE POLICIES
  BELOW. THIS CERTIFICATE OF INSURANCE DOES NOT CONSTITUTE A CONTRACT BETWEEN THE ISSUING INSURER(S), AUTHORIZED
  REPRESENTATIVE OR PRODUCER, AND THE CERTIFICATE HOLDER.
PRODUCER                                                                                  CONTACT
                                                                                          NAME:          Valerie Coffman
                                                                                          PHONE                                               FAX
Covenant Insurance Services LLC                                                           (A/C, No, Ext): (405) 578-5575                      (A/C, No):
                                                                                          E-MAIL
807 Jim Thorpe Blvd                                                                       ADDRESS:       valerie@thecovenantins.com
                                                                                          PRODUCER
                                                                                          CUSTOMER ID:
Prague                                                              OK 74864                                 INSURER(S) AFFORDING COVERAGE                               NAIC #
INSURED                                                                                   INSURER A :   NATIONAL FIRE & MARINE INSURANCE COMPANY 20079
Central States Reprocessing, Inc. DBA CSR Worldwide Oklahoma, INc.                        INSURER B :
473617 E 610 RD                                                                           INSURER C :

                                                                                          INSURER D :
WATTS                                                               OK 74964-6512         INSURER E :

                                                                                          INSURER F :

COVERAGES                                      CERTIFICATE NUMBER:                                                          REVISION NUMBER:
LOCATION OF PREMISES / DESCRIPTION OF PROPERTY (Attach ACORD 101, Additional Remarks Schedule, if more space is required)




  THIS IS TO CERTIFY THAT THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE INSURED NAMED ABOVE FOR THE POLICY PERIOD
  INDICATED. NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT WITH RESPECT TO WHICH THIS
  CERTIFICATE MAY BE ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEREIN IS SUBJECT TO ALL THE TERMS,
  EXCLUSIONS AND CONDITIONS OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLAIMS.
INSR                                                                                  POLICY EFFECTIVE POLICY EXPIRATION
              TYPE OF INSURANCE                           POLICY NUMBER               DATE (MM/DD/YYYY) DATE (MM/DD/YYYY)        COVERED PROPERTY                    LIMITS
 LTR

       ✘ PROPERTY                                                                                                                 BUILDING                 $          2,500,000.00
       CAUSES OF LOSS      DEDUCTIBLES                                                                                            PERSONAL PROPERTY        $
           BASIC           BUILDING                                                                                               BUSINESS INCOME          $
                                      25,000
           BROAD                                                                                                                  EXTRA EXPENSE            $
                           CONTENTS

       ✘ SPECIAL                                                                                                                  RENTAL VALUE             $
           EARTHQUAKE                                                                                                             BLANKET BUILDING         $
 A
       ✘ WIND
                                                12PRM115727-01                            08/23/2023          08/23/2024
                                  225,000                                                                                         BLANKET PERS PROP        $
           FLOOD                                                                                                                  BLANKET BLDG & PP        $
                                                                                                                                                           $

                                                                                                                                                           $
           INLAND MARINE                       TYPE OF POLICY                                                                                              $
       CAUSES OF LOSS                                                                                                                                      $
           NAMED PERILS                        POLICY NUMBER                                                                                               $
                                                                                                                                                           $
           CRIME                                                                                                                                           $

       TYPE OF POLICY                                                                                                                                      $

                                                                                                                                                           $
           BOILER & MACHINERY /                                                                                                                            $
           EQUIPMENT BREAKDOWN
                                                                                                                                                           $

                                                                                                                                                           $

                                                                                                                                                           $
SPECIAL CONDITIONS / OTHER COVERAGES (ACORD 101, Additional Remarks Schedule, may be attached if more space is required)




CERTIFICATE HOLDER                                                                        CANCELLATION

                                                                                            SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED BEFORE
                                                                                            THE EXPIRATION DATE THEREOF, NOTICE WILL BE DELIVERED IN
                   Hinkle Law Firm LLC                                                      ACCORDANCE WITH THE POLICY PROVISIONS.


                   1617 N Waterfront Pkwy.                                                AUTHORIZED REPRESENTATIVE

                   Ste. 400
                   Wichita KS 67206
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